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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    BENJAMIN D. GALLOWAY, #214897
     Chief Assistant Federal Defender
3    RACHELLE BARBOUR, #185395
     Assistant Federal Defender
4    Office of the Federal Defender
     801 I Street, 3rd Floor
5    Sacramento, CA 95814
     Tel: 916-498-5700/Fax: 916-498-5710
6
     Attorneys for
7    OMAR AMEEN
8
                                 IN THE UNITED STATES DISTRICT COURT
9
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   IN THE MATTER OF THE                               )   Case No. 2:18-mj-152 EFB
     EXTRADITION OF OMAR                                )
12   ABDULSATTAR AMEEN TO THE                           )   REQUEST FOR COURT APPROVAL FOR
     REPUBLIC OF IRAQ,                                  )   DEFENSE SUBPOENA FOR TWITTER
13                                                      )   INFORMATION UNDER 18 U.S.C.
                                                        )   § 2703(c)(1)(B) AND (d) 1
14
                                                            Judge: Hon. Edmund F. Brennan
15
16
             The defense has prepared the attached subpoena to Twitter, Inc. for non-content
17
     information relating to a Twitter post referenced in the Iraqi extradition packet. The English
18
     translation of the post is at page 101 of the translated extradition packet (Document 22-1, page
19
     101), and the original post is at page 62 of the Arabic language extradition packet. The Court
20
     has an unredacted copy of page 101, as well.
21
             The Tweet purports to announce the homicide charged in Iraq against Mr. Ameen. It
22
     was posted by what appears to be an ISIS account: @FlagSunna.
23
24
25
26
27
28   1
              No hearing is requested. The Government has previously noted only technical issues with the prior
     subpoena request, which have been addressed in this proposed subpoena. The defense files this request in the public
     record in light of Oregonian Publ’g Co. v. U.S. Dist. Court, 920 F.2d 1462, 1465 (9th Cir. 1990).
                                                             1
     Request for Court Approval for Defense Subpoena (Twitter) – US v. Ameen
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1    The defense seeks to obtain information related to the post by subpoenaing Twitter for account,
2    subscriber, and location information relating to the underlying account to investigate the true

3    perpetrator of the homicide charged in Iraq. There is no other method for the defense to

4    investigate this post, which is rather cryptic, but was provided directly to the Iraqi court. This

5    will help explain several contradictory and incredible features of the Iraqi case presented in this

6    Court.

7             As discussed previously, the defense does have subpoena power in extradition cases
     under 18 U.S.C. § 3191. The Court has previously approved defense subpoenas on Mr.
8
     Ameen’s behalf, and the defense respectfully requests that the Court do so again here. This
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     request is being made over two months prior to the extradition hearing date set in this case, in
10
     furtherance of defense investigation into the crime.
11
              Subpoenas for social media companies, such as Twitter, fall under the Stored
12
     Communications Act, 18 U.S.C. § 2700 et seq. 2 Accordingly, defense counsel files this
13
     request for a Court order for the subpoena. The required affidavit under section 3191 is
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     attached at Exhibit A, and supports the issuance of this subpoena. The subpoena is attached at
15
     Exhibit B for the Court’s review. A proposed Order is filed concurrently.
16
              Under 18 U.S.C. § 2703(c), a governmental entity may require a social media provider
17
     to “disclose a record or other information pertaining to a subscriber to or customer of such
18   service (not including the contents of communications)” with a court order under subsection
19   (d) of that statute. A court order for disclosure shall issue based on “specific and articulable
20   facts showing that there are reasonable grounds to believe that . . . the records of other
21   information sought, are relevant and material to an ongoing criminal investigation.”
22            As indicated in the extradition packet, the social media post announces the killing for
23   which Mr. Ameen is charged. It purports to be on behalf of ISIS. The extradition packet
24   provides no information regarding who posted the announcement of the death. It does not

25   include the date or time of the post. Investigation indicates that it was posted on Twitter.

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27
              2
                     Definitions: Under 18 U.S.C. § 2711(4), the Federal Defender’s Office is a
28   “governmental entity.” This Court is a “court of competent jurisdiction” under 18 U.S.C.
     § 2711(3)(A)(i). Facebook is a “remote computing service” under 18 U.S.C. § 2711(2).

                                                           2
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1            The Twitter user who posted the announcement about the homicide could very well
2    have been on the scene and involved. Determining the identity of the person or persons who

3    took credit for the homicide is critical in this case, and clearly relevant and material to an

4    ongoing criminal investigation. This subpoena will lead to evidence that will advance defense

5    investigation into the crime.

6            Defense counsel has filed a proposed order that complies with the Stored

7    Communications Act and respectfully requests that the Court sign the order and authorize the
     attached subpoena.
8
     DATED: February 21, 2019                          Respectfully submitted,
9
10                                                     HEATHER E. WILLIAMS
                                                       Federal Defender
11                                                     /s/ Benjamin D. Galloway
                                                       BENJAMIN D. GALLOWAY
12                                                     Chief Assistant Federal Defender
13                                                     /s/ Rachelle Barbour
14                                                     RACHELLE BARBOUR
                                                       Assistant Federal Defender
15                                                     Attorneys for OMAR AMEEN

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     Request for Court Approval for Defense Subpoena (Twitter) – US v. Ameen
